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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


  IN RE: DAVOL, INC./C.R. BARD,
  INC., POLYPROPYLENE HERNIA                       Case No. 2:18-md-2846
  MESH PRODUCTS LIABILITY
  LITIGATION
                                                   JUDGE EDMUND A. SARGUS, JR.
                                                   Magistrate Judge Kimberly A. Jolson

  This document relates to:
  Milanesi v. C.R. Bard,
  Case No. 2:18-cv-01320

                           MOTIONS IN LIMINE ORDER NO. 20

           Plaintiffs’ Motion in Limine (“MIL”) No. 14 and Plaintiffs’ MIL No. 15


       Plaintiffs Antonio Milanesi and Alicia Morz de Milanesi and Defendants C.R. Bard, Inc.

and Davol, Inc. filed various motions to exclude evidence in the context of the first bellwether

trial, Johns v. C.R. Bard, et al., S.D. Ohio No. 2:18-cv-1509, and have filed in this second

bellwether case, Milanesi, to preserve the issue for appeal.

    (1) Plaintiffs’ MIL No. 14 to Exclude Evidence of the ISO Standards / Guidelines to

Support Legal Theories or Establish the Product’s Safety and Efficacy. A duplicate of this

motion was filed on this issue in the first bellwether case, Johns, which was denied. (Johns MIL

Order No. 4, Johns ECF No. 355.) For the same reasons, the Court DENIES Plaintiff’s Motion in

Limine No. 14. (ECF No. 209)

    (2) Plaintiffs’ MIL No. 15 to Exclude Evidence and Argument Relating to the Hospital’s

Surgical Consent Forms. A duplicate of this motion was filed on this issue in Johns, which was

denied. (Johns MIL Order No. 3, Johns ECF No. 332.) For the same reasons, the Court
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DENIES Plaintiff’s Motion in Limine No. 15. (ECF No. 205.)

   IT IS SO ORDERED.


   12/2/2021                             s/Edmund A. Sargus, Jr.
   DATE                                  EDMUND A. SARGUS, JR.
                                         UNITED STATES DISTRICT JUDGE




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